       Case 19-12276-amc                       Doc 100          Filed 01/30/23 Entered 01/30/23 11:34:54                        Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              JEFFREY T. PRESLEY


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          19-12276-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  RIGHTPATH SERVICING                                                       1-1

 Last 4 digits of any number you use to identify the debtor's account                         7   7   1   7

 Property Address:                              2 COLONIAL WAY
                                                ASTON, PA 19014




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $      12,262.64

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $      12,262.64

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $            -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $            -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $            -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $            -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $      12,262.64



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     JEFFREY T. PRESLEY                                               Case number   (if known)   19-12276-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    01/30/2023


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     JEFFREY T. PRESLEY                                            Case number   (if known)   19-12276-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                    Creditor Type                Date         Check # Posting Description                  Amount
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         07/17/2020   17204719Disbursement To Creditor/Principal    272.76
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         08/21/2020   17206109Disbursement To Creditor/Principal    510.93
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         09/29/2020   17207566Disbursement To Creditor/Principal    340.62
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         10/23/2020   17208955Disbursement To Creditor/Principal    346.29
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         11/20/2020   17210176Disbursement To Creditor/Principal    351.96
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         12/21/2020   17211362Disbursement To Creditor/Principal    351.96
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         01/22/2021   17212662Disbursement To Creditor/Principal    527.94
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         02/23/2021   17213973Disbursement To Creditor/Principal    351.96
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         03/19/2021   17215230Disbursement To Creditor/Principal    351.96
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         04/23/2021   17216365Disbursement To Creditor/Principal    351.96
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         05/25/2021   17217503Disbursement To Creditor/Principal 1,246.29
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         06/25/2021   17218570Disbursement To Creditor/Principal 1,423.42
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         07/23/2021   8000751 Disbursement To Creditor/Principal    340.62
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         08/20/2021   8000818 Disbursement To Creditor/Principal    340.62
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         09/24/2021   8000899 Disbursement To Creditor/Principal    402.92
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         10/22/2021   8000985 Disbursement To Creditor/Principal    470.39
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         11/19/2021   8001048 Disbursement To Creditor/Principal    475.56
1        LOANCARE SERVICING CENTER
                                 Pre-Petition Arrears         12/17/2021   8001125 Disbursement To Creditor/Principal    475.56
1        COMMUNITY LOAN SERVICINGPre-Petition
                                  LLC         Arrears         01/21/2022   17225320Disbursement To Creditor/Principal    475.56
1        COMMUNITY LOAN SERVICINGPre-Petition
                                  LLC         Arrears         02/18/2022   17226299Disbursement To Creditor/Principal    713.34
1        COMMUNITY LOAN SERVICINGPre-Petition
                                  LLC         Arrears         03/18/2022   17227262Disbursement To Creditor/Principal    475.56
1        COMMUNITY LOAN SERVICINGPre-Petition
                                  LLC         Arrears         04/22/2022   17228263Disbursement To Creditor/Principal    475.56
1        COMMUNITY LOAN SERVICINGPre-Petition
                                  LLC         Arrears         05/17/2022   17229242Disbursement To Creditor/Principal    475.56
1        COMMUNITY LOAN SERVICINGPre-Petition
                                  LLC         Arrears         06/27/2022   17230101Disbursement To Creditor/Principal    713.34
                                                                                        Total for Part 2 - B:         12,262.64




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